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 8                              IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                                )
11                                                            )   No. CR 00-40130 CW
                                 Plaintiff,                   )
12                                                            )   ORDER EXONERATING BOND
     vs.                                                      )
13                                                            )
     TROY HOLLAND,                                            )
14                                                            )
                               Defendant.                     )
15                                                            )

16
            It is ORDERED that the bond in the above-entitled case is exonerated. The Clerk of the
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     United States District Court for the Northern District of California shall reconvey any real property
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     and cash to the owners of record, whose names are on file with the clerk’s office. All sureties are
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     hereby relieved of their obligations.
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     Dated: November 2, 2010                            _______________________________
22                                                      CLAUDIA WILKEN
                                                        United States District Judge
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